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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
                                MADISON DIVISION

PAMELA KILTY, Individually and as Special
Administrator of the Estate of ELVIRA KILTY,
Deceased, PAUL J. KILTY, DAVID L. KILTY,
WILLIAM J. KILTY, and JAMES S. KILTY,                Court No. 16 CV 00515

                             Plaintiffs
               v.

WEYERHEAUSER COMPANY, a
corporation, et al.,

                             Defendants.

                     3M COMPANY’S ITEMIZED CLAIM FOR
              REASONABLE COSTS AND FEES INCURRED IN OPPOSING
                   PLAINTIFFS’ MOTION FOR LEAVE [DKT 192]

       NOW COMES Defendant, 3M COMPANY, by and through its attorneys, SEGAL

MCCAMBRIDGE SINGER & MAHONEY, LTD., and in support of its Claim for Costs and

Fees Reasonable Costs and Fees Incurred in Opposing Plaintiffs’ Motion for Leave [Dkt 192],

states as follows:

                                          DISCUSSION

       On March 7, 2018, this Court awarded Defendant 3M Company sanctions against the

Plaintiff under Fed. R. Civ. P. 37 due to Plaintiffs’ improper disclosure of fact witnesses

Richard Luther and Charles Reno and Plaintiffs’ attempt to take the depositions of these

witnesses after the close of discovery. [Dkt 199]. These sanctions included both the exclusion of

the improperly disclosed fact witnesses as well as reasonable costs and fees per Fed. R. Civ. P.

37(a)(5)(B). The Seventh Circuit applies a lodestar analysis to the calculation of reasonable

attorney’s fees as a sanction – reviewing an attorney’s fee claim according to a computation of

reasonable hours expended multiplied by a reasonable hourly rate. Houston v. C.G. Sec. Servs.,

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Inc., 820 F.3d 855, 859 (7th Cir. 2016); (citing Divane v. Krull Elec. Co., 319 F.3d 307, 317–18

(7th Cir.2003)).

       As was discussed in greater detail in 3M Company’s Response to Plaintiff’s Motion for

Leave [Dkt 194], 3M Company spoke with Plaintiffs’ counsel repeatedly at fact and expert

witness depositions throughout December 2017 and January 2018 about the disclosure and

deposition of undisclosed fact witnesses. When these conversations failed to yield a disclosure,

3M Company exchanged correspondence with Plaintiffs’ counsel on January 19, 2018, and

January 22, 2018, requesting Plaintiffs’ cooperation in resolving the disclosure issue and

scheduling the deposition of the undisclosed fact witnesses. [Dkt 194, Exhibit D]. Plaintiffs

were unwilling to cooperate in resolving this matter, and independently noticed the depositions

of undisclosed fact witnesses. As a result, 3M Company completed a basic overview of Seventh

Circuit law on the topic of improper witness disclosures and drafted a letter to Plaintiffs’

counsel outlining their objections. [Dkt. 192, Exhibit 2]. Plaintiffs’ counsel and counsel for 3M

Company then exchanged additional e-mails regarding the nature of 3M Company’s objections,

but Plaintiffs’ counsel ultimately stood by his previous notices. Unable to obtain Defendants’

consent in proceeding with untimely discovery, Plaintiffs filed their Motion for Leave [Dkt

192]. In response, 3M Company completed a detailed review of Seventh Circuit law related to

the propriety of voluminous, vague, generalized witness disclosures and drafted its Response to

Plaintiffs’ Motion for Leave [Dkt 194]. After this Court entered its order denying Plaintiffs’

Motion for Leave, excluding the undisclosed witnesses, and awarding costs and fees, [Dkt 199],

3M Company proceeded to draft this Claim at the Court’s direction.

       The time 3M Company expended in the above listed endeavors is itemized below,

together with the associated attorney’s fees. The attorney’s fees are calculated at 3M


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Company’s counsels’ current rates of $175.00 per hour for associates and $215.00 per hour for

partners, which are a reasonable and competitive market rates. The below fees and expenses

were reasonably incurred by 3M Company in the defense of its interests in discovery. 3M

Company made every attempt to reduce fees and costs through seeking the cooperation of

Plaintiffs in resolving these discovery issues on multiple occasions. When Plaintiffs were

unwilling to cooperate and unilaterally noticed the undisclosed witness depositions, 3M

Company drafted an objection letter and engaged in additional correspondence with Plaintiffs’

counsel with the hope that these efforts would prevent the need for motion practice on the issue.

When these last efforts at cooperation proved unsuccessful, 3M Company drafted its Response

seeking the exclusion of these witnesses because of Plaintiffs’ continued attempts to take fact

witness depositions after the close of discovery, deadline for expert disclosures, and filing of

motions for summary judgment.

                                         ITEMIZATION

        The itemization below is for fees relative to this matter. It does not include fees incurred

in the related Herbert Spatz matter (16 CV 726), which are also subject to Judge Crocker’s

Order and are addressed in another motion filed in that matter. Given the close relation of these

cases, 3M Company’s counsel often worked on both cases simultaneously relative to this

discovery dispute. As such, 3M Company has split the time spent relative to this discovery

dispute evenly between Kilty and Spatz, with each case’s itemization accounting for one-half of

the time spent working to resolve the discovery dispute.

 Date                      Description                        Time            Rate          Fee
           Exchange electronic communications with
                                                                             Patrick
           Plaintiffs' counsel, Bob McCoy of CVLO,
                                                                            Sullivan
1/19/18    regarding disclosure of the co-worker fact           0.1                        $17.50
                                                                           (Associate)
           witnesses that he has previously
                                                                             ($175)
           mentioned, without identification, at prior

                                                 3
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             depositions.
             Review 7th Circuit Federal Appellate
             Court case law relative to the
                                                                                       Patrick
             objectionability of voluminous witness
                                                                                      Sullivan
2/21/18      lists in Rule 26(a)(1) initial disclosures in               0.3                            $52.50
                                                                                     (Associate)
             order to assess potential for Motion to
                                                                                       ($175)
             Quash and Strike Deposition of co-worker,
             Richard Luther. 1
             Draft correspondence to Plaintiff's counsel,
             Bob McCoy of CVLO, outlining 3M
                                                                                       Patrick
             Company's objections to his proposed
                                                                                      Sullivan          $70.00
2/23/18      extension of the discovery schedule and                     0.4
                                                                                     (Associate)
             depositions of undisclosed witnesses and
                                                                                       ($175)
             providing legal support for those
             objections.
             Draft revised correspondence to Plaintiff's
                                                                                         Jason
             counsel, Bob McCoy of CVLO, outlining
                                                                                        Eckerly
2/26/18      3M Company's objections to his proposed                     0.2                            $43.00
                                                                                       (Partner)
             extension of the discovery schedule and
                                                                                        ($215)
             depositions of undisclosed witnesses.
             Exchange electronic communications with
             Plaintiff's counsel, Bob McCoy of CVLO,
                                                                                       Patrick
             in response to 3M's objections to his
                                                                                      Sullivan
2/26/18      untimely notice of undisclosed fact                         0.2                            $35.00
                                                                                     (Associate)
             witnesses (Rich Luther and Charles Reno)
                                                                                       ($175)
             and request to extend the discovery
             deadline.
             Review 7th Circuit Appellate Court Case
             law regarding disclosure requirements and                                 Patrick
             the propriety of voluminous, vague, and                                  Sullivan
    3/2/18                                                               0.7                           $122.50
             general disclosures under Rule 26(a)(1) for                             (Associate)
             use in drafting a Response to Plaintiffs’                                 ($175)
             Motion for Leave.
             Draft Response and Opposition to                                          Patrick
             Plaintiff's Motion for Leave to Take                                     Sullivan
    3/2/18                                                               2.4                           $420.00
             Additional Discovery Depositions after the                              (Associate)
             Close of Fact Witness Discovery.                                          ($175)
             Draft revised Response and Opposition to                                   Jason
             Plaintiff's Motion for Leave to Take                                      Eckerly
    3/5/18                                                               0.5                           $107.50
             Additional Discovery Depositions after the                               (Partner)
             Close of Fact Witness Discovery.                                          ($215)
             Draft Claim for Itemized Costs and                                        Patrick
3/12/18                                                                  0.6                           $105.00
             Expenses Pursuant to Sanctions Order of                                  Sullivan

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 At the time counsel for 3M Company completed this research, Plaintiffs had not yet cancelled Mr. Luther’s
deposition or noticed Mr. Reno’s deposition.
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          Judge Stephen L. Crocker.                                    (Associate)
                                                                         ($175)
                                                                          Jason
          Draft revised Claim for Itemized Costs and
                                                                         Eckerly
3/12/18   Expenses Pursuant to Sanctions Order of            0.3                      $43.00
                                                                        (Partner)
          Judge Stephen L. Crocker.
                                                                         ($215)
                                                        4.7 (Associate Rate -$175)
                                              Totals:                                $1,037.50
                                                         1.0 (Partner Rate - $215)

       WHEREFORE, the Defendant, 3M COMPANY, respectfully requests that this Court

grant attorney’s costs and fees as itemized above pursuant to the March 7, 2018, order of Judge

Stephen L. Crocker [Dkt 199], and provide any other relief it deems necessary.

                             Respectfully Submitted,

                             By:            s/ Jason P. Eckerly
                                    Edward J. McCambridge ARDC #1812343
                                    Jason P. Eckerly ARDC #6288127
                                    Patrick F. Sullivan ARDC #6314104
                                    Nathan J. Law ARDC #6319318
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                                    CERTIFICATE OF FILING


        I hereby certify that on March 14, 2018, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to all counsel
of record.


                                           s/ Jason P. Eckerly
                                   Edward J. McCambridge ARDC #1812343
                                   Jason P. Eckerly ARDC #6288127
                                   Patrick F. Sullivan ARDC #6314104
                                   Nathan J. Law ARDC #6319318
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